Case 8:17-CV-OO496~SCB-AAS Document 4 Filed 02/28/17 Page 1 of 7 Page|D 62

Filing # '»51655005 E-Filed 01/26/2017 09:52:20 AM

IN THE CIRCUIT COURT IN AND FOR THE THIRTEENTH JUDICIAL C[RCUIT IN AND
FOR HILLSBOROUGH COUNTY, F`LORIDA
GENERAL CIVIL DIVISION
VICTORIA WILLii€\MS-MI]KTH,

_ P:ainnff, ~
. v. , CaseNo.; 16-CA-0:_1752

CAPITAL ONE BANK (USA) N.A.

Defendant.
/

FIRST AMENDED COMPLAINT

Plaintiff Victoria Wiliiams-Mirth sues Defendant Capital One Bank (USA) N.A. and
alleges the following: n

i. Plaintiff` brings this action pursuant to Fla. Stat. § 559.55 et seq., the Fiorida
Consumer Coiiection Practices (“FCCPA), and to 47 U.S.C. §227 et seq., the Telephone
Consumer Protection Act (“'I`CPA”), and seeks more than $15,000 in damages

2. Piaintiff is a “consumer” as that term is defined by 15 U.S.C. 1692a(3) and Fla.
Stat. § 559.55(2), and is a “person” as presided by 47 U.S.C. § 227(b)(1) and under Fia. Stat. §
559.72. `

3. Defendani Capaa_l one nasa (UsA) N.A. is a. foreign nations banking
association, together-With its collecting agents (“Defendant” or “Capital One”), doing business in
the State of Florida, is a creditor as that term is defined by Fla. Stat. § 559.55(3), and is a
“person” as provided by 47 U.S.C. § 227(b)(1) and under Fia. Stat. § 559.72. Capitai One has
agents or representatives located in Hillsborough County.

4. Ail conduct of Det`endant aiieged herein by Plaintiff was authorized, approved

and/or ratified by one or more oft`lcers, directors, or managers of Defendant, and/or knew in

 

Case 8:17-CV-OO496-SCB-AAS Document 4 Filed 02/28/17 Page 2 of 7 Page|D 63

` advance that the Defendant was likely to conduct itself and allowed it to so act with conscious
disregard of the rights and safety of others. The conduct alleged herein was despicable,
frandulent, oppressive and done knowineg with intent, with malice,‘ and without cause.

5. The Det`endant’s communications set forth below were made only to exhaust the `
unpaying resisting Plaintift"s wiil in an attempt to break Plaintiff and have Piaintifi` pay amounts
owed long after the Plaintiff was given all necessary information and persuasion and negotiation

failed, as demonstrated by Plaintiff expressiy communicating to the Defendant to stop calling

Piaintiff.
6. The Det`endant’s communications set forth below are wholly without excuse.
7. At all times mentioned herein, the agent(s) or employee(s) of Defendant acted

Within the course and scope of such agency or employment, and acted with the consent,
permission and authorization of Defendant. Each such entity acted as a co-actor in an enterprise
to unlawfuily attempt to collect debts from Piaintiff.

FACTUAL ALLEGATIONS

 

8. Defendant has asserted via Collection Calis that Plaintiff owes it debts (the
“Alleged Debt”).

9. D_efendant made multiple Coilection Calis, on multiple days, in multiple weeks,
over multiple months to Plaintift` attempting to collect the Aileged Debt.

iO. Det`endant made Coiiection`Caiis to Plaintiff’s cell phone after Plaintiff toici
Dei`endant that Plaintii`i` couid not pay the Alleg'cd Debt.

li. Det"endant made Collection Caiis to P|aintiff"s ccii. phone after Piaintiff toid
Det"endant to stop calling Piaintiff’s ceii phone.

l2. Defendant made Colleetion Caiis between 1 and 2 times a day, 3-4 days a week.

 

Case 8:17-CV-OO496-SCB-AAS Document 4 Filed 02/28/17 Page 3 of 7 Page|D 64

l3. Defendant made Collection Calls to Plaintit`f’s cell phone while she was at work
even after Plaintifi` told Defendant she could not take personal calls on her cell phone while at
work.
§..QJ_F.N_T_`_I_

VIOLATION OF THE FLORIDA CONSUMER COLLECTIONS PRAC'I`ICES ACT,
FLA. STAT. 5 559.55 et seg. AS TO DEFENDANT CAPITAL ONE

l4. This is an action against Def`endant for violations _of Fla. Stat. § 559.55 et seq.

15. Plaintiff realleges and incorporates paragraphs l through 13, as if fully set forth
herein, d

l.6. Defendant is engaged in the business of collecting consumer debts and is,
therefore, subject to Fla. Stat. §559.55 etseq.

l7. The Alleged Debt is “debt” as defined by Fla. Stat. § 559.55(1)_.

i8. Defendant communicated certain information to Plaintit`f, as set forth in the above
Factual Allegation paragraphs, which constitutes “ccmmunication,’l as defined by Fla. Stat. §
559.55(5).

l9. Fla. Stat. § 559.'72(7) provides, in pertinent part:

In collecting consumer‘debts, no person shall:

('i') Willfully communicate with the debtor or any member of her or his family
with such frequency as can reasonably be expected to harass the debtor or her or his
family, or willfully engage in other conduct which can reasonably be expected to abuse
or harass the debtor or any member of her or his family.

20. Det"endant violated F`la, Stat. § 559.72(7) when Defendant (i) made multiple
Collection Calls, on multiple days, in multiple weeks, over multiple months to Plaintiff

attempting to collect the Alleged Debt; (2) made Collection Calls to Plaintift‘s cell phone after

Plaintift` told Det`endant that Plaintift` could not pay the Alleged Debt; and (3) made Collection

 

 

Case 8:17-CV-OO496-SCB-AAS Document 4 Filed 02/28/17 Page 4 of 7 Page|D.GB

Calis to Plaintift’s cell phone after Plaintiff told Defendant to stop calling; all of which is a
willful communication with the Plaintiff with such frequency that Defendant could reasonably
expect such communication to harass Plaintiff, or which is a willful engagement by Defendant in
other conducting including violation of the TCPA, Which could reasonably expected to abuse or
harass Plaintlff.
21. Fla. Stat. § 559.72`(9) provides in pertinent part:
In collecting consumer debts, no person shall:

(9) ...assert the existence of some other legal right when such person knows that
the right does not exist.

22. Defendant violated Fla. Stat. § 559.72(9), second half, when Defendant (l) made
multiple Collection Calls, on multiple days, in multiple weeks, over multiple months, to Plaintiff
attempting to collect the Alleged Debt (2) made C}dilection Calls to _Plaintiff’s cell phone after
malone lola boreman that Plalmlrr could nor pay the Allogool nebl; ana (3) made collection l
Calls to Piaintift"s cell phone after Plaintiff told Defendant'to stop cailing; all of which is an
assertion of the legal right to attempt to collect the Alleged Debt, including by violations of the '
TCPA and by unfair and deceptive practices,' which are rights Defendant knows do not exist, in
violation of the FCCPA, including Fla. Sta. § 559.72(9), second half.

23. As a result of the above violations of the FCCPA, Plaintiff has been damages and
Defendant is liable to'Plaintiff for actual damages, statutory damages, and reasonable attorney’s
fees and costs pursuant to the FC(lPA, Fla. Stat. § 559.72(2).

24. Basecl upon the willful, intentional, knowing, malicious, repetitive and continuous
conduct of the Defendant as described herein, Plaintiff intends to move for leave to amend this

Claim to assert a claim for punitive damages in accordance with Fla. Stat. §§ 559,77 and 768.72.

 

 

Case 8:17-CV-OO496-SCB-AAS Document 4 Filed 02/28/17 Page 5 of 7 Page|D 66

25. lAll conditions precedent to this action have occurred, have been satisfied or have
been waived
WHEREF()RE, Plaintiff respectfully reduests this Court to enter judgment against the
Defendant finding 'that the Defendant violated the FCCPA, awarding Plaintiff actual
' damages, statutory damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2), and
awarding Plaintiff any and all such further relief as is deemed necessary or appropriate
couNT 11'

VIOLATION OF 'I`HE TELEPHONE CONSUMER PROTECTION ACT,
47 U.S.C. -§ 227 et seg. AS TO‘ DEFENDANT CAPITAL ONE

26. 'l`his is an action against Defendant for violations of 47 U.S.C. § 227 et seq.

27. Plaintiff re~alleges and reincorporates paragraphs l through 13, as if billy set forth
herein.

28. Defendant, in the course of its business, uses an automatic telephone dialing
system as defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff.

29. Section 47 U.S.C. § 227(b)(l)(A)(iii) provides in pertinent part:

lt shall be unlawful for any person within the United States ~

(A) to make any call using an automatic telephone system or an artificial or
prerecorded voice _ -

(iii) to any telephone number assigned to a paging service, cellular telephone service,
specialized mobile radio service, or other radio common carrier service, or any service for which
the called party is charged for the call; ‘ '

30. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) when Defendant (l) made
multiple Collection Calls on multiple days, in multiple weeks, over multiple months to Plaintiff

attempting to collect the Alleged Debt; (2) made Collection Calls to Plaintiff’s cell phone after

Plaintit`f told Defendant that Plaintlff could not pay the Alleged Debt', and (3) made Collection

 

Case 8:17-cV-OO496-SCB-AAS Document 4 Filed 02/28/17 Page 6 of 7 Page|D 67

Calls to Plaintiff’s cell phone after Plaintiff told Defendant to stop calling Plaintiff’s cell phone;
which is Defendant’s use of an automatic telephone dialing system to make multiple Collection
`Calls to Plaintiff on P|aintiff's cell phone after Plaintiff told Defendant that Defendant did not
have permission to Call Plaintiff.

31. Defendant willfully, knowingly, and intentionally made multiple 'Collection Calls
to Flaintifl’s cell phone utilizing an automatic telephone dialing system after Plaintiff told
Defendant that Defendant did not have permission to call Plaintiff.

32. All conditions precedent to this action have occurred, have been satisfied or have
been waived

33. As a result of the above violation of the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,
pursuant to the TCPA, 47 U.S.C'. § 227(b)(3)(B).

34. Based upon the willful, knowing, and intentional conduct of the Defendant as`
described herein, Plaintiff is also entitled to an increase‘in the amount of the award to treble the
damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §
227(b)(3).

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against the
Defendant: l(1) finding Defendant violated the TCPA; (2) awarding Plaintiff actual damages
or the amount of $5,00.00 in damages for each violation, whichever is greater; (3) finding
Defendant willfully, knowingly and intentionally violated 47 U.S.C. § 227 et seq. and
increasing the damages award to treble the amount of damages otherwise to be entered as a
judgment; and (4) awarding Plaintiff any and all such further relief as is deemed necessary

and appropriate

 

Case 8:17-CV-OO496-SCB-AAS Document 4 Filed 02/28/17 Page 7 of 7 Page|D 68 `

JURY TRIAL DEMANDED

 

Respectfully submitted,

/s/ Ste hen J. Ba e
Florida Bar Number: 97788

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